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                             U NITED STA TES D ISTRIC T CO U RT
                             SOUTH ERN DISTRICT OF FLORIDA

                                  CASE NO .09-M D-B2036-JLK

    IN R E:CH E CK IN G A C CO UN T
    O V ER DR AFT LITIG A TIO N

    M DL No.2036



    THIS DOCUM ENT RELATES '
                           TO :
    FIRST TRANCHE ACTIONS

    DoloresGutierrez v.WellsFargoaBJP/C N A.
    S.D.Fla.CaseNo.1:09-cv-23685-JLK
    D.Or.CaseNo.3:09-cv-0l239-ST

    M artinezv.WellsFargo Bank,X W.
    S.D .Fla.Case N o.1:09-cv-23834
    D .N .M .Case N o.6:09-cv-01072-G BW -A CT

    Zankich v.WellsFargo Bank,N A.
    S.D .Fla.Case N o.1:09-cv-23186-JLK
    W .D .W ash.Case N o.C-08-l476-RSM


       ORDER DENYING M OTION TO DISM ISS ALL CLAIM S OF UNNAM ED CLASS
                    M EM BER S IN FA V O R O F A RBITR A TIO N

          THIS CAUSE isbeforetheCourtupontheDefendantW ellsFargoBank,N.A.'S('$W ells
    Fargo'')MotiontoDismissAllClaimsofUnnamedClassMembersin FavorofArbitration (DE
    4182),fsledJune 10,2015. TheCourtisfully briefedin thematterandproceedshavinghad the
    benefk oforalargument.1 Forthereasonsstated below , theCourtfndsthatW ellsFargowaived




    1On A ugust 9, 2016,the Courtheard oralargumenton W ells Fargo's motion (DE 4182),
    Plaintiffs'response (DE 4295), W ells Fargo's reply (DE 4300),and Plaintiffs' Notice of
    SupplementalAuthorityandW ellsFargo'sresponsethereto(DE 4305,4306).
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    any rightsithad to dem and arbitration asto theunnamed classmem bers,and thatW ellsFargo's

    m otion isuntimely. Them otion isdenied.

                                 1. R ELEV A NT B AC K G R O U N D
           W ells Fl?.
                     e/'5'Arbitration Clause

           W ells Fargo'sConsumer AccountAgreement(ç1CAA'')included an arbitration clause.
    See DE 4182 at2-4. W hile the exactlanguage ofthe clause varied somewhatovertime, ithas

    alwaysbeen pennissiveratherthan mandatory,allowing eitherparty to requestarbitration within

    areasonabletime.f.g.,id.(klEitheryou ortheBankmayrequirethesubmission ofadisputeto
    binding arbitration atany reasonabletime notwithstanding thata lawsuitorotherproceeding has

    been commenced.'');Gutierrezp.WellsFargoBank,704 F.3d 712,720(9th Cir.2012)(noting
    thatW ells Fargo'sptrmissive tsclause stands in contrastto the m andatory arbitration provision

    foundinmanyconsumercontracts,suehastheprovisioninConcepcfon'').
           ProceduralH istorv

           These three elass adionswere tsled in 2008 and 2009. This M DL was creattd in June

   2009,with the support of W ells Fargo, See W ells Fargo Response to M otion to Vacate

   (advocating allW ellsFargo actionsshould be centralized),JPM L DE 40 at2-3. The initial
   ''tranche''ofdefendantbanks,which included W ellsFargo and W achovia,zarguedthathaving an

   M DL courthandlethesematterswould lipromotejudicialeffkiency and preventthepossibility
   ofcontlicting rulings.'' F.g.,W achovia Responseto M otion to Transfer, JPM L DE 7 at5.

          A t an O ctober 2009 status conference, counsel for W ells Fargo began expressing

   concerns aboutlitigating m ultiple cases in this M D L. See O d . 22,2009 Status Conf.Transcript,


   2 W'CllsFargo and W achovia merged in 2008, and they are represented by the sam e counselin
   thisM DL.
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    D E l24 at 19-20. The parties and the Court agreed to stream line the proceedings by

    consolidating arbitration m otionswith allotherm otionsto dismiss. On N ovem ber 6,2009,the

    Courtdirected W ellsFargo to file,by no laterthan Decem ber8, 2009,al1itm eritsand non-merits

    m otionsdirected to''thecom plaints,including m otionsto compelarbitration. DE 134 at7-8). In

    response,W ells Fargo did notinvoke arbitration as to the Plaintiffs, nordid it do anything to

    notify thepartiesand Courtthatitintended to move forarbitration asto theclassifand when the

    classwascertitsed. lnstead,W ellsFargojoined severalotherbanksto filean OmnibusM otion
    toDismiss,whichnotonlysoughtadjudicationoftheclaimson theirmerits,butalsospecifically
    noted thatthese banks were not among those seeking arbitration. See D E 2 17 at 6 n.2. The

    Courtm ostly denied thebanks'm otion to dism isson M arch 11,2010. DE 305.

           Even though itgave clear direction in its Novem ber6,2009 Orderthatany arbitration

    demandsweretobemadeby December8,2009,theCourtafforded W ellsFargo asecond form al

    opportunity to dem and arbitration afterruling on dismissal. See DE 360 at2-3. In response,

    W ells Fargo specitscally infonmed the Courtthat itwould notpursue arbitration.3DE 390)see

   also Garciav.WachoviaCorp.,699F.3d 1273,1276(11th Cir.2012).
          On June 4,2010,W ellsFargo filed its answer and affirmative defenses. DE 548,549.

    Soon thereafter,the Courtopened discovery and established litigation deadlines. DE 463,891.

   Substantiallitigation ensued,during whieh W ells Fargo soughta vidory on the m erits, and the

   parties engaged in extensive discovery,the nature and scope of which retlected the parties'

   understanding thatthiswasaclassaction.Asthe Eleventh Circuitsum marized in Garcia:



   3W el1sFargo included avague içreservation ofrights''asto ulm am ed classmem bers butdid not
                                                                                     ,
   state thatit would invoke arbitration againstthe unnam ed class m em bers ifand when the class
   was certitsed. DE 390.




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          For m ore than a year,the parties prepared their cases for trial, They engaged in
          extensive discovery: they served and answered interrogatories, produced
          approximately 900,000 pagesofdiscovery docum ents,and took approximately 20
          depositions.Thepartiesalso litigated severalm otionsbeforethe districtcourt.

   Garcia,699 F.3d at 1276;see also Order Denying Arb.,DE 2224 at 5 (summarizing the
   ''thousandsofhours''spentby the partieslitigating,aswellasthe substantialtime spentby the

   Courtrevitwing briefng,holding hearings,and issuing orders;and fnding thatifthe bank had

   tiledatimely arbitration motion,Slverylittleofthisjudicialeffortwouldhavebeen expended'').
          On April29,2011,W ellsFargo changed course and filed a motion to com pelarbitration
   as to the nam ed Plaintiffs. DE 1384.4 April2011 was the first tim e W ells Fargo invoked

   arbitrationastoanyPlaintiffin thesecases,whichwas:(a)afterbothdeadlinessetbytheCourt
   for W ells Fargo to file any arbitration motions;and (b)after the parties and the Courthad
   expended enorm ousam ounts oftim e and resources on litigation and discovery and preparing the

   case for trial. N evertheless, W ells Fargo argued its m otion w as tim ely because, prior to

   Concepcion,an arbitration motion would have been futile. ThisCourt(and subsequently the
   EleventhCircuit)rejectedthisargumentand foundthatW ellsFargo,becauseofitsownstrategic
   litigation decisionsand conduct,waived any rightitmay havehad to compelarbitration asto the

   Plaintiffs.DE 2224 at5-9;Garcia,699 F.3d at1277-80. W ellsFargo'suntimely m otion delayed

   theprogressofthiscase by approxim ately ayear-and-a-half.

          Upon return to thisCourtin 2012,W ellsFargo again invoked thelitigationm achinery for

   several additional months. See, :.g., DE 3191,3193,3194 (agreeing to entry of revised
   scheduling orderfordiscoveryand classcertification deadlines);3283,3284,3285,3286,3288,


   4W e1ls Fargo'sm otion referenced its arbitration rightsasto unnam ed class m em bers, but,again,
   bid notstate thattheBank would move to compelarbitration asto theunnamed classmembersif
   andwhentheclasswascertified.DE 1384at10n.3).
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    3289,3290 (opposing Plaintiffs'amended motionsforclasscertification and moving to strike
    certain evidence). ln M arch 2013, W ells Fargo filed an opposition to Plaintiffs' class
    certification m otion along with wbattheBank characterized asa içconditionalm otion''to compel

    arbitration as to the unnam ed class m em bers. DE 3291. W ellsFargo explained itsçtconditional

    m otion''asfollow s:

           W hile the Absent Class M embers are not yet part of this litigation, and are
           thereforenotcurrently subjecttothisCourt'sjurisdiction...thiswillchangeifthis
           Courtcertifles one ormore classes in response to plaintiffs'pending motion for
           class certiication.W ellsFargo accordingly makesthis arbitration motion atthis
           tim e so that ifthe Courtdoes certify one orm ore classes in these cases,itcan
           address the arbitration obligation of the Absent Class M em bers at the first
           possible m om ent.

    DE 3291at1. On April5,2013,the Courtdenied W ellsFargo's conditionalm otion to com pel

    arbitration.DE 3415. Adjudication ofPlaintiffs'classcertification motion wasstayed pending
    W ellsFargo'sappealregardingitsconditionalm otion. DE 3501.

           On February 10, 2015, the Eleventh Circuit vacated on lim ited grounds this Court's

    ruling on W ells Fargo's conditionalm otion,w ithout resolving whether W ells Fargo w aived its

    arbitration rights as to the urmam ed class m em bers. Specifically,the Eleventh Circuitheld that,

    because a class had notyet been certifed,this Courtlilacked jurisdiction to rule on the
    arbitration obligations of the umlam ed putative class members,'' and thus any such ruling

    constituted an içimpennissible advisory opinion.'' Spears-llaymond v. Wells Fargo Bank, N.A.,

    780 F.3d 1031,1037,1039 (11th Cir.2015). The Eleventh Circuitfurtherheld the named
    Plaintiffslacked third-party standirtg to advancewaiverorotherargum entsagainstarbitration on

   the unnam ed class m em bers'behalf. Id at 1038-39. Contrary to W ells Fargo's suggestions,

    Spears-liaym ond did notsettle the issue as to whetherW ells Fargo w aived its arbitration rights

    with respectto the unnamed elass members. To wit,in dicta,the Eleventh Circuitstated, iiw e

   can conceive ofno reason why the unnam ed putative class memberscould notseek preclusive
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   effectforW cllsFargo'swaiverofitsrightto compelarbitration oftheirown accord ifand when

   they become partofthe case.''Id at1039.Nordid ithold,asW ells Fargo hasim plied,thatthe

   Bank'sconductpriorto class certification (orpriorto moving forarbitration asto thenamed
   Plaintiffs in 2011),is irrelevantto thatinquiry.5The Eleventh Circuitremanded forfurther
   proceedings. 1d.

          On remand,the Courtgranted Plaintiffs'pending class certification m otion.DE 4l8l.

   W ellsFargo then filed the currentm otion to com pelarbitration on June 10,2015.

                                          lI. DISCU SSIO N

          W aiver
          Plaintiffs argue,and this Courtagrees,that W ells Fargo waived any rights it had to

   demand arbitration as to the unnamed class mem bers. The Eleventh Circuithas setforth the

   followingtestforwaiverofarbitration rights:

          dkFirst,(courtsl decide if,tmderthe totality ofthe circumstances,the party has
          acted inconsistently with the arbitration right.''lvax Corp.v.#.Braun of Am.,
          lnc.,286 F.3d 1309,1315-16(11thCir.2002)(internalquotationmarksomitted).
          A party actsinconsistently with the arbitration rightwhen theparty t'substantially
          invokes the litigation machinery prior to demanding arbitration.'' S (t7 H
          Contractorsq906F.2dat1514(internalquotation marksand alterationsomitted).
          i'gslecond,we look to see whether,by (acting inconsistently with the arbitration
          right),thatparty hasin some way prejudiced the otherparty.''lvax Corp.,286
          F.3dat1316 (internalquotation marksomitted).To determine whethertheother

   5 See In re Cox, 790 F.
                         3d 1112,1119 (10th Cir.2015)(noting thatç*spears-liaymond did not
   decide whetherthedefendantm ay com pelarbitration againstthe absentclassmem bersifaclass
   iseventually certified.ltheld only thatsuch aquestion wasnotjusticiableuntilcertitication'').
   ThepanelinSpears-HaymonddidnotethattheissueofwhetherWellsFargohadwaivedasto
   the nam ed Plalntiffs is not necessarily the sam e as whether it has w aived w ith respect to the
   class. Spears-liaym ond,780 F.3d at 1038 n.9. lt did not suggest,how ever,that any conduct
   which supported the finding of w'aiver as to Plaintiffs cannot also w eigh in favor of finding
   w aiver as to the class. Consistent w ith Spears-H aym ond,this Court does not find that W ells
   Fargo'sw aiver as to the nam ed Plaintiffs necessarily constitutes a w aiver as to the class;rather,
   this Courtevaluates waiver as to the class m embers in lightof the fullcircumstances ofthis
   litigation and W ellsFargo's conduct.




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           party hasbeen prejudiced,t'we may considerthe length ofdelay in demanding
           arbitration and the expense incurred by that party from participating in the
           litigation process.''S d:S Contractors,906F.2d at1514.

    Garcia,699 F.3d at1277.Applying thistestto the factsand circum stanceshere, the Courtfinds

    w aiver.

           W ells Fargo acted inconsistently with itsarbitration rightsin m ultiple respects. A party

    ordinarily waivesthe rightto arbitrate ifititdsubstantially invokges)the litigation machinery'
    priorto demanding arbitration.'' S tf H Contractors,Inc.v.A.J FJ-# CoalCo.
                                                                             ,Inc.906 F.2d
    1507,1514 (11th Cir.1990)(quoting F.C.Ernst,Inc.v.Manhattan Constr.Co.,559 F.2d 268,
    269(5thCir.1977)). Assumm arized above,W ellsFargo extensively and deliberately invoked
   the litigation machinery priorto lnaking any arbitration demand in these cases,requiring the

    partiesand the Courtto expend enormousam ountsoftim eand resources. See also Garcia,699

    F.3d at1277-78 (finding thatW ellsFargo'sactivitiesherewere itfarmoresubstantial''than the
    litigation conductin S d:S,wherethedefendantwasfound to have waived arbitration). The
   Bank's conduct reflects a delibelate strategy on its part to try to earn through litigation a

   completevictory affecting therights,notonly ofthefew nam ed Plaintiffs,butoftheentireclass.

          W ells Fargo also acted inconsistently with its arbitration rights by twice declining to

   demand arbitration by clear deadlines set by the Court. DE 134, 360. In ordering those

   deadlines,the Court did not m ake any exceptions. 1d. The defendant banks that sought

   arbitration in accordance with those deadlineseventually succeeded,thus avoiding thousandsof

   hoursoftoilforthe partiesand counselin thosecasesaswellastheCourtand itsstaff.

          W ells Fargo suggests thatits pre-certification conduct should be ignored forpurposes of

   the current motion. The Court(lisagrees. In analyzing the question of waiver here, it is

   appropriate to consider the context of the entire litigation. See, e.g.,In re Citigroup, Inc., 376

   F.3d 23,28 (1stCir.2004)(holding thatalllitigation adivities sincethe filing oftheoriginal
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   com plaintw ere relevant to a class m em ber w aiver analysis,and noting that liwe m ust evaluate

   thisargumentin the contextofthe entirelitigation,notapartofit'');In reCox,790 F.3d 1112,
    l1l5(10th Cir,2015)(findingdefendantwaived arbitration rightsasto classbased,in part,on its
    pre-certitscation conduct);Kingsbury v. US.Greenhber,LLC,2012 W L 2775022,*6-7 (C.D.
   Cal,June29,2012)(same).
           Since the inception ofthese cases,W ells Fargo has known they were styled as class

    actionsand thatthe named Plaintiffsand unnamed class memberswere subjectto permissive
    arbitration clauses. W ells Fargo neverthelessdeliberately chose to pursue a strategy oflitigation.

    Any suggestion thatthe Bank's extensive invocation of the litigation machinery prior to class

    certification could only have been concerned with the few nam ed Plaintiffs cannot be squared

    withthenatureand scopeofthelitigationanddiscoveryconducted,and isrejected.AstheCourt
    and partiesarewellaware,thesecaseshavebeen litigated throughouttheirduration asamajor
    classaction,notasa claim overafbw hundred dollarsofPlaintiffs'overdraftfees. Although the

    unnamed class members obtained officialS'party''status only when the certification order was

    entered,the class claim s have dliven these cases since they were filed, and W ells Fargo's

    activitieshavebeen geared toward defeating both theclaim softhenam ed Plaintiffsand thoseof

   the unnam ed class m em bers. Unquestionably,the vastbulk oflitigation activity w ould nothave

   occurred ifonly the m odestclaim sofPlaintiffswere atstake.

           The defendant in K ingsbury advanced a sim ilar argum ent as W ells Fargo does here.

   Afterthe courtcertified a classin Kingsbury defendantmoved to com pelarbitration againstthe

   nam ed plaintiff and the absent class m em bers. 2012 W L 2775022 at *1-2. Although it had

   voluntarily litigated the case for years, defendant argued that it could not have asserted

   arbitration earlierbeeausetheclassm embershad only recently been m ade parties. 1d.at*6.The
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   courtrejected thisargument,noting thatitiiignoresthe realitiesofclass-action litigation''and
   was underm ined by the factthatdefendantknew since the inception ofthe case thatthe rights

   and interestsofboth the named plaintiffand theclasswere atstake. Id Asthe Kingsbury court

    explained'
             .

           g'Tlo accept this argument would be to condone gamesmanship in the class
          certification process. A defendantcould waitin the weedsand delay asserting its
          arbitration rights. Itcould tsle motionsto dism iss,litigate the named plaintiffs
          legal theories,and oppose class certification motions. lf and when a class is
          finally certified,the defendantcould simply assertitsarbitration rights and defeat
          certification of the previously-certiied class. ln the interests of the fair and
           efficientadministrationofjustice,theCourtcannotaccept(defendant'slposition.
    Id at+7.6

           Likewise,here,W ells Fargo has known since 2008 thatthis is a class litigation,and it

    chose to invoke the litigation m achinery f0r years before ever asserting its arbitration rights.

    Am ong other things, W ells Fargo moved to dism iss the claims in their entirety,conducted

    discovery to undermine Plaintiffs' legal theories, and moved to exclude the opinions of

    Plaintiffs'experts. Underthe circum stances,itwould beunfair,and fundamentally atodds with

    theprinciplesunderlying the FederalArbitration Act,to permitW ells Fargo to effbctively ilwait

    in the weeds''and invoke arbitralion,after years oflitigation,now thatthe alternate path the



    6 AccorJ Elliott v. KB Home North Carolina,lnc.,752 S.E.2d 694,700 (N.
                                                                         C.Ct.App.2013)
    (finding waiver asto class members because the defendantilhad knowledge thatthe named
    Plaintiffs were litigating the Claims as a class action from the outset and were incurring
    substantialcostswhiledoing so'');Tennyson p.Santa FeeDealership Acquisition .
                                                                                JJ Inc.s364
    P.3d 1273, 1279 (N.M . Ct.App.2015) (finding waiver as to class members because the
    defendantavailed itselfoft'discovery rules thatm ightnot otherw ise be available in arbitration''
    andisaccessedjudicialprocessesbyslingmultipledisgositivemotionsbelow''despitethefact
    thatitsarbitration clausewasin effectfrom the inceptlon ofthe litigation'');Morgan v.AT&T
    WirelessServs.,2013 W L 5034436,at*7 (Cal.Ct.App.Sept.13,2013)(holding the Sicritical
    focus''in the w aiver inquiry to be defendant's litigation conductand thatdefendant's pursuitof
    pre-certification class discovery Skw as m anifestly incom patible w ith a desire to engage in
    arbitrationastothenamedplaintiffsandtheputativeclassmembers'')(emphasisinoriginal).
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    Bank chose did notturn outas ithad hoped. AT& T M obility LLC v.Concepcion, 131 S.Ct.

    1740, l749 (2011) (one ofthe F.
                                  4A's centralpurposes isto encourage efficientand speedy
    disputeresolutionl;Dean WitterReynolds,Inc.v.fyrJ,470 U.S.213,220 (1985)(recognizing
    thatiithecostlinessanddelaysoflitigation ...canbelargelyeliminated by g)arbitration'').This
    logic applieswith equalforceto the class,asitdid to the named Plaintiffs.See Garcia,699 F,3d

    at 1277.

               lndeed, W ells Fargo's delayed attempt to invoke arbitration,if successful, yvould

    renderthe extensive resources spentto date a com plete waste,resulting in grossinefficiency and

    also contlicting with one ofthe mostfundam entaltenets underlying classaction practice. E.g.,

    American Pipe& Constr.Co.v.Utah,414 U.S.538,553(1974)(noting thatprincipalpum ose
    behindRule23istopromoteliefficiencyandeconomyoflitigation'').
           Having made itschoice,W ellsFargo cannotsimply reverse courseafterfailing to achieve

    through litigation the sweeping victory ithad hoped to achieve. Such gam esm anship isimproper

    and contrary totheinterestsofthefairand efficientadministration ofjustice.Kingsbury,2012
    W L 2775022at*6-7;JonesMotorCo.,Inc.v.Chauffeurs,Teamstersand HelpersLocalUnion
    No.633,671F.2d 38,43 (1stCir.1982)(Breyer,J.)(tito requirethatpartiesgo to arbitration
    despite theirhaving advanced so tltrin courtproceedingsbefore seeking arbitration would often

    be unfair,for it would effectively allow a party sensing an adverse courtdecision a second

    chance in anotherforum'');Cabinetreeof Wis.,Inc.v.Krqftmaid Cabinetry,Inc.,50 F.3d 388,
    391(7thCir.1995)(arbitrationmustnotbeusedasastrategytomanipulatethelegalprocessand
    playkûheads1win,tailsyoulose'').
           W ellsFargo'sargum entthatitcould nothave waived itsrightsbecause the Courtcould

    notruleasto theunnamed plaintiffsbeforecertifscation isrejected. Firstofall,ithasalready




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    been established that W ells Fargo could have m oved to com pelarbitration atthe outsetas to the

    named Plaintiffs(see Garcia,699 F.3d at 1279-80),which ifsuccessfulwould have had the
    practicaleffect of extinguishing the unnam ed class m em bers' c1aim s.1 W ells Fargo also m ight

    have,atthe outset,putthe partiesand the Courton notice- through filing a conditionalm otion,

    like the one the Bank ultim ately lqled years later in 2013,or some other clear statementofits

    intent thatitintended to requestarbitration asto the unnam ed classm em bers ifand when the

    class w as certified.8 H ad w ells Fargo invoked r bitration, very little ofthe enorm ous resources

    the parties and the Courthave expended in this litigation would have been expended.Instead,

    W ells Fargo made the deliberate choice to pursue litigation instead ofarbitration. 1ts decision

    and corresponding conduct overthe follow ing years w ere inconsistentw ith an intentto arbitrate

    againstthe class.

           W ellsFargo arguesitprovidednoticeofitsintentin itsAnswers(DE 548,549)and in a
    2010 courttsling(DE 390). However,theloosely wordedilreservationofrights''inthesefilings
    did notprovide unam biguous notice thatthe Bank intended to invoke itsarbitration rights,and

    doesnotexcusetheBank'ssubsequent(andextensive)litigation activitiesthatwereinconsistent
    with such rights. In re Citigroup,376 F.3d at27 (findingthatlitigation activitieswhich occur
    after a defendant's m ention of an arbitration defense butbefore m otion to com pelare properly


    7 Once again,
                  itshouldnotbeforjottenthatseveraldefendantbanksinthisMD1'          wsuccessfully
    m oved to com pelarbitration asto lndividualplaintiffsatthe outset,resulting in a fulldism issal
    ofthe claims-including classclairns-pending againstthem . E.g.,Barras v.Branch Banking dr
    TrustCo.,685 F.3d 1269 (11th Cir.2012);Hough v.Regions Fin.Corp.,672 F.3d 1224 (11th
    Cir.2012);Bufhngtonv.SunTrustBanks,lnc.,459Fed.Appx.855(11thCir.20121.
    8 W el1s Fargo's suggestion thatitcould notpossibly have expressed its intentto m ove as to the
    unnam ed class m em bers untilthose class m em bers achieved idparty status''is directly undercut
    by W ells Fargo's ow n conduct in filing its lkconditionalm otion''to com pel as to the unnam ed
    plaintiffsbefore the classw as certified.D E 3291.
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    considered in waiverinquiry). The CourtfindsthatW ellsFargo'sdelay in seeking to invoke
    arbitrationresulted solely from itstacticaldecisionsregarding how itwanted to litigatethiscase.

           The certiûcation of the class does not undo the Bank's prior strategic decisions and

    conduct. The proceduraldevice ofclass certification does notcreate a blank slate thatwould

    allow the Bank to pivotand take a divergentposition. And while a defendant's waiver ofits

    arbitration rightscan be nullified in certain limited circumstances e.g.,where,post-waiver,the

    plaintiffm aterially changes the scope ortheory ofthe plaintiffs claim s no such circum stances
    e
     xisthere.9

           M oreover,the Courtfindsthatsignificantprejudice would resultifW ellsFargo were
    permitted to change course and invoke arbitration atthis late stage. The Eleventh Circuithas

    recognized atleasttwo typesofprejudicethatcan supportasnding ofwaiver:(1)Siçwherethe
    party seeking arbitration allowsthe opposing party to undergo the types of litigation expenses

    thatarbitration was designed to alleviategi)''510and (2)wherekkirtjhe useofpre-trialdiscovery
    procedures by a pal'
                       ty seeking arbitration may sufficiently prejudice the legalposition ofan



    9k%ee,e.g.,Krinskv. sunTrustBanks,Inc.,654F.3d 1194,1200-03(11th Cir.2011)(defendant's
    waivernullified wherepost-waiveramended complaintçlgreatly broadened the potentialscopeof
    thislitigation by openingthedoortothousands- ifnottensofthousands- ofnew classplaintiffs
    notcontemplated in the originalclass definition'');Collado v.J&G Transp.,lnc.,--F.3d ---,
    2016W L 1594581,at*3-4(11th Cir.Apr.21,2016)(defendant'swaiveroftherightto arbitrate
    FLSA claim did notiiextend to the state law claim sthatwere pleaded forthe frsttime afterJ&G
    had litigated tothepointofwaivertheFLSA c1aim.''). Here,theclassdefinitionandtheclaims
    and legaltheoriesasserted in these caseshavenotmaterially changed since2008.

     10 G 1rf'
             ia,699 F.3dat1278 (quotingM orewitzv.JZ ofEng.Shi
                                                             p Owz7cr.
                                                                     çM ut.f'rta/.drlndem.
    A.
     %sW,62 F.3d 1356,1366 (11th Cir.1995));seealso S drS Contractors,Inc.v.A.J Fl./iCoal
    Co.,906F.2d 1507,1514 (11thCir.1990)(inevaluatingwaiver,courtsiimayconsiderthelength
     ofdelay in demanding arbitration 1:nd the expenseincurred by thatparty from participating in the
     litigationprocess'').




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    opposing party so asto constitute a w aiver ofthe party'srightto arbitration.'''ll 80th are present

    here.

            First,thePlaintiffsand counselfortheclass(aswellastheCourt)expended substantial
    resourcesand incurred substantialcosts litigating on behalfofboth the named Plaintiffsand the

    unnamed class mem bers before W ells Fargo ever invoked its arbitration rights,expenditures

    whichwould nothavebeen incurred had W ellsFargotim ely invoked itsarbitration rights.W ells

    Fargo's suggestion thatthese expendituresare irrelevantbecause they were ostensibly borne by

    thenam ed Plaintiffsignorestherealitiesofclasslitigation;

            The reality of class-action litigation requires the named Plaintiffs to incur
            expenses lltigating the Claim s on behalf of the entire class,which the nam ed
            Plaintiffs in this case have done for more than three years. Allowing rthe
            defendantl to compel arbitration with respectto the unnamed class members
            would renderthenam ed Plaintiffs'effortspursuing theclassClaim smeaningless.
            (The defendantj had knowledge thatthe named Plaintiffs were litigatillg the
            Claim sasa classaction from the outsetand wereincurring substantialcostswhile
            doing so.
    Elliott,752S.E.2dat700;seealsoInreCitigroup,376F.3dat28(sûW hen adefendanthasfailed
    to timely invoke itsrights,and during thatdelay,the litigation hasproceeded into discovery,it

    cannot,particularly in the contextofa class action,claim thatthe class memberssubjectto
    arbitration willnot suffer prejudice.'');In re Cox,790 F.3d at 1118 (considering expenses
    incurredbythenamedplaintiffinevaluatingwaiverastoclass).
            Second,theextensivediscovery W ellsFargo obtained (which itcould nothaveobtained
    through arbitration)wouldprejudicethelegalposition ofthe unnamed classmembers. Among
    otherthings,W ellsFargo conducted extensive discovery ofclassdam agesexpertArthurOlsen,

    including written production requestsand a lengthy deposition.See DE 3283-10 (excerptsfrom

    llGarcia, 699F.3dat1278(quotingStonev.A'
                                           .F.HuttondrCo.,898F.2d 1542,1,
                                                                        543(11thCir.
    1990)).
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    Olsen deposition);DE 3286 at3 (W e11sFargo admitting Olsen produced work productpriorto
    hisdeposition). During thisdiscovery,W ellsFargowasinformed astohow itsown datacould
    be programmatically used to calculate each class mem ber'sdam ages. See generally DE 3283-

    10. This discovery, which would not have been available in arbitration, w ould obviously be

    usefulin any future arbitration proceedingsagainstthe classm embers. W ellsFargo also sought

    inform ation and documentation regarding the evidence upon which Plaintiffs willrely to prove

    their claims. See, e.g., W ellsFargo's Requests for Production No. 24 (requesting kkgalll
    DocumentsthatYou intend touseorrely onto supportYourclaimsin thisaction''). Theclass
    memberswould rely on similarproof. W ellsFargo'slitigiousnessprejudicestheinterestsofthe
    unnamed classmembersin the sarneway theEleventh Circuitdeclared itprejudiced thenamed
    Plaintiffs. Garcia,699 F.3d at 1279;see also,e.g.,ln re Cox,790 F.3d at l118 (tlnding
    prejudice to the classmembersbecause the defendantSllmade ample use ofevery discovery
    deviceavailable''')(quotation omilted);InreCitigroup,376F.3dat28(same).
           The Courtfurthernotes thatif W ells Fargo were perm itted to seek arbitration atthis late

    stage, the unnamed class members would be significantly prejudiced by having had the
    adjudication oftheirclaimsdelayedforyearswhileW ellsFargowasSiwaiting in theweeds''in
    this m anner. Under established Suprem e Courtprecedent,the unnam ed class m embers were

    perm itted to rely on the continued existence of these class actions, during that tim e, in not

    pursuing their ow n individualclaim s. See Am.Pi
                                                   p e drConst.Co.v. Utah,414 U .S.538,552-

    54(1974);Crown,CorkdrSealCo.v.Parker,462U.S.345,354 (1983).
           Accordingly,forthe foregoing reasons,the Courtfinds thatDefendantw aived any rights

    ithad to com pelarbitration asto the unnam ed classm em bers.




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           Tim eliness

           As an additionalbasis for denying W ells Fargo's current motion,Plaintiffs argue that

    W ellsFargo'sm otion isuntimely. TheCourtagrees. W ellsFargo'sinvocation ofitsarbitration

    rightsunquestionably came wellafterthe2009 and 2010 deadlinessetby the Coul'tforfiling any

    arbitration m otions. Courts have the inherent authority to adopt arbitration-related deadlines.

    See Garcia,699 F.3d at 1277. Sttch deadlinesfurtherthe efficiency-related goalsofthe FAA.

    Concepcion,           Ct.at l748 (Congress intended for the FAA kçto facilitate streamlined
    proceedings''andpromoteiitheeffcientandexpeditiousresolutionofclaims'').Theauthorityof
    the Courtto set deadlines and otherw ise efficiently m anage the litigation of cases is particularly

    criticalin M DL proceedings. Here,this Coul'ttwice entered orders comm anding defendants,

    including W ellsFargo,to assertany arbitration rights.DE 134,360. These directiveswere not

    restricted solely to thenamed Plaintiffs.1d. W ellsFargo twice declined to move #brarbitration.

    In responseto thesecond order,W ellsFargo even confirmedthatitwould notseek tojoin the
    currentlypending motionsto compelarbitration. DE 390;see also DE 2224 at5 (holding that
    Bank iiaffirmativelydecidednottoassertarbitrationbythedeadlinesestablishedbytheCourt'').
           This C ourtset the deadlines in question for a reason- to m anage these proceedings and

    facilitate theirefficientlitigation. The circumstancesof W ells Fargo'sbelated invocation ofits

    arbitration rightsunderscorewhy such deadlineswerenecessary and appropriate. ltwould m ake

    littlesenseforthe partiesand the Courtto spend years,and expend enormousresourcesengaging

    in extensive litigation,discovery,and expertpractice,and to litigate classcertitication,ifW ells

    Fargo w as going to renderthose efforts a nullity by invoking arbitration asto the class follow ing

    certification. Thus,the Courtrequired the defendantbanks,including W ellsFargo,to m ake their

    intentions regarding arbitration clear atthe early stage of the litigation. That the Courtm ay not




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    have been able to rule on a m otion to com pelas to the unnnm ed class m em bers at that stage of

    the proceedings,does not nlean this Court lacked the authority to effectively m anage this

    litigation orto require the parties to m ake theirintentionsregarding the litigation clear. W ells

    Fargo declined to invoke arbitration, either as to the nam ed Plaintiffs or the class, by the

    deadlines set,and its currentm otion is untim ely.

           W ells Fargo's motion isalso untimely underthe terms ofitsown pennissive arbitration

    clause. E.g.,Stolt-Nielsen,S.A.v,AnimalFeedsInt'
                                                   1Corp.,559U.S.662,682 (20l0)(kswehave
    said on numerousoccasions thatthe centralor tprim ary'purpose ofthe FAA Is to ensure that

    iprivate agreements to arbitrate are enforced according to their terms''') (citation omitted).
    Under the plain language ofW ells Fargo's clause,in orderfora party to invoke its arbitration

    rights,itmustmake a timely requestto arbitrate. As discussed above,W ells Fargo's request

    here came only afterthe Bank had previously chosen litigation instead ofarbitration and after

    yearsoflitigation and discovery affecting thePlaintiffsand theclass.

                                          111. C O N CL USIO N
           A ccordingly, it is O RD ER ED, AD JU D G ED , and D EC RE ED that Defendant W ells

    Fargo'sM otionto DismissA11ClaimsofUnnamed ClassM embersin FavorofArbitration (DE

    4182)be,andthesameishereby,DENIED.
            DONE AND O RDERED in Chambers at the Jam es Lawrence King F'
                                                                       ederalJustice

    Building and United StatesCourthouse in M iami,Florida,this17th day ofOctober,2016.

                                                                 ''
                                                                                                         .




                                                                 JAM ES LAW      N C E K IN G
                                                              N ITED STA TE S D ISTRICT JU D
                                                             SO U TH ER N D ISTRIC T O F FLO R


     cc:A 11counselofrecord



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